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                              UNITED STATES JUDICIAL PANEL
                                           on
                                MULTIDISTRICT LITIGATION


IN RE: GENERAL MOTORS LLC
IGNITION SWITCH LITIGATION                                                               MDL No. 2543


                                         TRANSFER ORDER


         Before the entire Panel: • In two separate motions, plaintiffs in two actions have moved,
pursuant to 28 U.S.C. § 1407, for coordinated or consolidated pretrial proceedings of this litigation
in the Central District of California. This litigation currently consists of fifteen actions pending in six
districts as listed on Schedule A. 1

         All parties agree that centralization is warranted, but disagree about the most appropriate
transferee district. Plaintiffs in more than 40 actions and potential tag-along actions have responded
to the motions, and they variously argue in support of centralization2 in the Central District of
California, the Northern District of California, the Southern District ofFlorida, the Northern District
of Illinois, the Southern District oflndiana, the Middle District of Louisiana, the Eastern District of
Louisiana, the District of Massachusetts, the Eastern District of Michigan, the Eastern District of
New York, the Southern District ofNew York, the Northern District of Ohio, the Western District
of Oklahoma, the Eastern District of Pennsylvania, the Middle District of Pennsylvania, and the
Southern District of Texas. Defendants General Motors LLC (General Motors) and Delphi
Automotive PLC (Delphi) support centralization in the Southern District New York or, alternatively,
the Eastern District of Michigan.

        Each of the actions currently before the Panel asserts economic damages on behalf of certain
classes and/or individuals stemming from an alleged defect in certain General Motors vehicles that
causes the vehicle's ignition switch to move unintentionally from the "run" position to the "accessory"
or "off' position, resulting in a loss of power, vehicle speed control, and braking, as well as a failure




   • Certain Panel members who could be members of the putative classes in this docket have
renounced their participation in these classes and have participated in the decision.
   1
      The Panel has been notified of74 related actions pending in 31 district courts. These and any
other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1 and 7.2.
   2
       Plaintiff in one Western District of Missouri potential tag-along action responded requesting
that transfer of her case be stayed pending resolution of a pending motion to remand. That action
is not yet before the Panel, as it was not included in the initial Section 1407 motion for centralization.
Plaintiffs arguments will be heard if and when the action is placed on a conditional transfer order.
                                                                              A CERTIFIED COPY
                                                                          R BY J. KRAJICK LERK
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                                                   -2-

of the vehicle's airbags to deploy. 3 It is undisputed that the cases involve common questions of fact.
Centralization under Section 1407 will eliminate duplicative discovery; prevent inconsistent pretrial
rulings, including with respect to class certification; and conserve the resources ofthe parties, their
counsel, and the judiciary.

         The parties have suggested a number of able transferee districts and judges. We have settled
upon the Southern District ofNew York as the most appropriate choice. The Southern District of
New York is the site of the bankruptcies ofboth General Motors and Delphi. The Southern District
of New York Bankruptcy Court already has been called upon by both General Motors and certain
plaintiffs to determine whether the 2009 General Motors bankruptcy Sale Order prohibits plaintiffs'
ignition switch defect lawsuits. Several judges in this district, including Judge Jesse M. Furman, have
heard appeals related to General Motors' bankruptcy and, therefore, have some familiarity with the
common defendant and its prior bankruptcy proceedings. Judge Furman is an experienced transferee
judge with the ability to handle these complex proceedings expeditiously.

        IT IS THEREFORE ORDERED that pursuant to 28 U.S.C. § 1407, the actions listed on
Schedule A are transferred to the Southern District ofNew York and, with the consent ofthat court,
assigned to the Honorable Jesse M. Furman for coordinated or consolidated pretrial proceedings in
that district.


                                        PANEL ON MULTIDISTRICT LITIGATION




                                                                 Chairman

                                        Marjorie 0. Rendell              Charles R. Breyer
                                        Lewis A. Kaplan                  Sarah S. Vance
                                        Ellen Segal Huvelle              R. David Proctor




   3
      At oral argument, various counsel represented that a number of personal injury actions also
have been or may be soon filed that stem from the alleged ignition switch defect. The Panel has been
notified of at least two potentially-related actions that allege personal injury or wrongful death claims.
Since those actions are not before us now, we will not determine at this time whether their inclusion
in centralized proceedings with the economic loss actions is appropriate. Any arguments regarding
the inclusion of personal injury actions in centralized proceedings will be considered if and when the
actions are placed on a conditional transfer order.
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IN RE: GENERAL MOTORS LLC
IGNITION SWITCH LITIGATION                                               MDL No. 2543


                                      SCHEDULE A


          Central District of California

     MARTIN PONCE v. GENERAL MOTORS LLC, ET AL., C.A. No. 2:14-02161
     ESPERANZA RAMIREZ, ET AL. v. GENERAL MOTORS LLC, ET AL.,
          C.A. No. 2:14-02344
     DANIEL RATZLAFF, ET AL. v. GENERAL MOTORS LLC, C.A. No. 2:14-02424
     SYLVIA BENTON v. GENERAL MOTORS LLC, C.A. No. 5:14-00590
     KATIE MICHELLE MCCONNELL v. GENERAL MOTORS LLC, C.A. No. 8:14-00424
     DEVORA KELLEYv. GENERAL MOTORS COMPANY, C.A. No. 8:14-00465
     TELESO SATELE, ET AL. v. GENERAL MOTORS LLC, C.A. No. 8:14-00485
     NICOLE HEULER v. GENERAL MOTORS LLC, C.A. No. 8:14-00492

          Northern District of California

     MACIEL, ET AL. v. GENERAL MOTORS, LLC, C.A. No. 4:14-01339

           Northern District of Illinois

     WOODWARD v. GENERAL MOTORS LLC, ET AL., C.A. No. 1:14-01877

           Eastern District of Michigan

     JAWAD v. GENERAL MOTORS LLC, C.A. No. 4:14-11151
     JONES v. GENERAL MOTORS LLC, C.A. No. 4:14-11197

           Middle District of Pennsylvania

     SHOLLENBERGER v. GENERAL MOTORS, LLC, C.A. No. 1:14-00582

           Southern District of Texas

     BRANDT, ET AL. v. GENERAL MOTORS, LLC, C.A. No. 2:14-00079
     SILVAS, ET AL. v. GENERAL MOTORS, LLC, C.A. No. 2:14-00089
